               Case 19-16061-amc                 Doc       Filed 09/02/20 Entered 09/02/20 15:41:59                                 Desc Main
                                                           Document      Page 1 of 12
Fill in this information to identify the case:

Debtor 1              Tatyna Petrosov

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Eastern                     District of Pennsylvania
                                                                                (State)

Case number           19-16061-AMC



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             THE BANK OF NEW YORK MELLON FKA                        Court claim no. (if known):         6-1
                              THE BANK OF NEW YORK AS TRUSTEE
                              FOR THE CWALT INC. ALTERNATIVE
                              LOAN TRUST 2005-59, MORTGAGE PASS
                              THROUGH CERTIFICATES, SERIES 2005-
                              59

Last four digits of any number you                 XXXXXX6940                        Date of payment change:
use to identify the debtor’s account:                                                Must be at least 21 days after date of            10/1/2020
                                                                                     this notice

                                                                                     New total payment:
                                                                                     Principal, interest, and escrow, if any            $898.99

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:          $ _______                                        New escrow payment :          $ _______

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate note?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                         5.125%                          New interest rate:           3.75%

             Current principal and interest payment:        $ 806.26                         New principal and interest payment:         $ 731.77

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                              New mortgage payment:             $ _________




Official Form 410S1                                Notice of Mortgage Payment Change                                                page 1
            Case 19-16061-amc                 Doc         Filed 09/02/20 Entered 09/02/20 15:41:59                Desc Main
                                                          Document      Page 2 of 12
 Debtor 1            Tatyna Petrosov                                                Case number (if known) 19-16061-AMC
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Karen A. Maxcy                                                                 Date     8/27/2020
     Signature

Print:         Karen                 A.                             Maxcy              Title   Authorized Agent for Creditor
               First Name            Middle Name                    Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                      30076
               City                          State                   ZIP Code

Contact phone      678-321-6965                                                        Email    Karen.Maxcy@mccalla.com




Official Form 410S1                            Notice of Mortgage Payment Change                                  page 2
Case 19-16061-amc             Doc   Filed 09/02/20 Entered 09/02/20 15:41:59           Desc Main
                                    Document      Page 3 of 12



                                                       Bankruptcy Case No.: 19-16061-AMC
 In Re:                                                Chapter:             13
          Tatyna Petrosov                              Judge:               Ashely M. Chan

                                    CERTIFICATE OF SERVICE

      I, Karen A. Maxcy, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Tatyna Petrosov
751 Magee Avenue
Philadelphia, PA 19111

BRADLY E ALLEN                                 (served via ECF Notification)
Law Offices of Bradly Allen
7711 Castor Avenue
Philadelphia, PA 19152

Scott F. Waterman, Trustee                     (served via ECF Notification)
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       9/2/2020         By:    /s/Karen A. Maxcy
                     (date)                Karen A. Maxcy
                                           Authorized Agent for Creditor
Case
Case19-16061-jkf
     19-16061-amcClaim
                   Doc6-1 Filed
                             Filed 12/05/19 Entered
                                 09/02/20     Desc Main  Document
                                                    09/02/20 15:41:59 Page
                                                                       Desc9 Main
                                                                             of 48
                         Document        Page 4 of 12
Case
 Case19-16061-jkf
      19-16061-amcClaim
                     Doc6-1 Filed
                              Filed09/02/20
                                    12/05/19 Entered
                                              Desc Main   Document
                                                      09/02/20 15:41:59 Page 10Main
                                                                          Desc  of 48
                            Document       Page 5 of 12
Case
 Case19-16061-jkf
      19-16061-amcClaim
                     Doc6-1 Filed
                              Filed09/02/20
                                    12/05/19 Entered
                                              Desc Main   Document
                                                      09/02/20 15:41:59 Page 11Main
                                                                          Desc  of 48
                            Document       Page 6 of 12
Case
 Case19-16061-jkf
      19-16061-amcClaim
                     Doc6-1 Filed
                              Filed09/02/20
                                    12/05/19 Entered
                                              Desc Main   Document
                                                      09/02/20 15:41:59 Page 12Main
                                                                          Desc  of 48
                            Document       Page 7 of 12
Case
 Case19-16061-jkf
      19-16061-amcClaim
                     Doc6-1 Filed
                              Filed09/02/20
                                    12/05/19 Entered
                                              Desc Main   Document
                                                      09/02/20 15:41:59 Page 13Main
                                                                          Desc  of 48
                            Document       Page 8 of 12
Case
 Case19-16061-jkf
      19-16061-amcClaim
                     Doc6-1 Filed
                              Filed09/02/20
                                    12/05/19 Entered
                                              Desc Main   Document
                                                      09/02/20 15:41:59 Page 14Main
                                                                          Desc  of 48
                            Document       Page 9 of 12
Case
 Case19-16061-jkf
      19-16061-amcClaim
                     Doc6-1 Filed
                              Filed09/02/20
                                    12/05/19 Entered
                                              Desc Main  Document
                                                     09/02/20 15:41:59 Page 15Main
                                                                         Desc  of 48
                           Document       Page 10 of 12
Case
 Case19-16061-jkf
      19-16061-amcClaim
                     Doc6-1 Filed
                              Filed09/02/20
                                    12/05/19 Entered
                                              Desc Main  Document
                                                     09/02/20 15:41:59 Page 16Main
                                                                         Desc  of 48
                           Document       Page 11 of 12
Case
 Case19-16061-jkf
      19-16061-amcClaim
                     Doc6-1 Filed
                              Filed09/02/20
                                    12/05/19 Entered
                                              Desc Main  Document
                                                     09/02/20 15:41:59 Page 17Main
                                                                         Desc  of 48
                           Document       Page 12 of 12
